Filing # 15885 S44 RPRLAORG BS RASERPANE Fed 11/24/21 Page 1 of 36 PagelD 6

IN THE CIRCUIT COURT FOR THE
NINTH JUDICIAL CIRCUIT IN AND FOR
OSCEOLA COUNTY, STATE OF FLORIDA

AMERIFACTORS FINANCIAL GROUP, CASE NO.:
LLC, a Louisiana Limited Liability Company, CIVIL DIVISION
Plaintiff,

THE UNIVERSITY OF CHICAGO,
Inc., a Foreign Not For Profit Corporation,

Defendant.

 

COMPLAINT
Plaintiff, AMERIFACTORS FINANCIAL GROUP, LLC (“AmeriFactors”), a
Louisiana limited liability, company sues Defendant, THE UNIVERSITY OF CHICAGO, Inc.,

a Foreign Not For Profit Corporation (“UOC”), and alleges:

 

GENERAL ALLEGATIONS
1. This is an action for damages of more than $30,000.00, exclusive of interest and
costs.
2. AmeriFactors is a Louisiana limited liability company with an office location in

Osceola county, Florida, and which owns the Invoice (as defined herein below) that is the subject
of this action.

3. UOC is a Foreign Not For Profit Corporation registered to do business with the
State of Florida and with a Registered Agent in Tallahassee, Florida.

4. This Court has personal jurisdiction over UOC as UOC breached a contract in this

state by failing to make payment in Osceola County Florida as required by the contract.
Case 6:21-cv-01990-ACC-LRH Document 1-1 Filed 11/24/21 Page 2 of 36 PagelD 7

5. Venue is proper in Osceola county Florida Osceola County, Florida, because the
cause of action accrued in Osceola County, Florida.

6. On or about July 9, 2021, AmeriFactors entered into a Factoring Agreement with
Klein Construction, Ltd. (“Klein”). A copy of the Factoring Agreement is attached as Exhibit A.

7. Klein and UOC had business transactions between them already existing at the time
Klein entered into the Factoring Agreement. These business transactions resulted in the unpaid

Invoice 1903-14/Pay App. 14, attached as Exhibit B due from UOC (the “Invoice” or the

“Account”).

8. After these business transactions, Klein sold and assigned to AmeriFactors the
Invoice.

9. AmeriFactors has retained the undersigned counsel and it is obligated to pay her a

reasonable fee for her services.

10. AmeriFactors is entitled to collect its reasonable fees pursuant to the verification
and payment agreement (discussed below).

11. — All conditions precedent for bringing this action have been complied with, waived,
or excused.

COUNT I- BREACH OF CONTRACT

12. AmeriFactors realleges the allegations contained in paragraphs 1 and 3 through 11
above.

13. On or about August 27, 2021, UOC executed a “verification and payment
agreement” by the terms of which UOC agreed to pay the Invoice in full without offset or defense.
A copy of the verification and payment agreement executed by UOC is attached hereto as Exhibit

C.
Case 6:21-cv-01990-ACC-LRH Document 1-1 Filed 11/24/21 Page 3 of 36 PagelD 8

14. After receipt of the verification and payment agreement executed by UOC,
AmeriFactors acted in reliance upon the promise made by UOC, and purchased the Invoice
identified in the verification and payment agreement.

15. After the purchase, AmeriFactors sent UOC a general notice of assignment and
specific notice assignment of Invoice 1903-14/Pay App. 14, confirming that AmeriFactors
purchased the Invoice in reliance upon the verification and payment agreement executed by UOC.
Copies of the notices of assignment sent by AmeriFactors to UOC are attached hereto as
Composite Exhibit D.

16. | UOC breached the verification and payment agreement by failing and refusing to
pay the Invoice due in the amount of $1,272,073.45 as agreed in the verification and payment
agreement.

17. Asa direct and proximate result of UOC’s breach, AmeriFactors suffered damages
in the principal amount of $1,272,073.45.

WHEREFORE, AmeriFactors demands judgment for damages against The University of
Chicago, Inc. in the amount of $1,272,073.45, plus prejudgment interest, attorneys’ fees and costs.

COUNT I - ACCOUNT STATED

18. | AmeriFactors re-alleges the allegations contained in paragraphs 1, and 3 through
17 above.
19. Before the institution of this action, Klein provided materials and services to UOC.

20. Klein and UOC agreed to the resulting balances.
21. | AmeriFactors rendered a statement of the resulting balance to UOC. See again,

Composite Exhibit D.
Case 6:21-cv-01990-ACC-LRH Document 1-1 Filed 11/24/21 Page 4 of 36 PagelD 9

22. UOC owes $1,272,073.45 that is due with interest, for the products and services
provided by Klein to UOC.

23. | AmeriFactors purchased the Account owed by UOC and paid Klein good and
valuable consideration for the debt owed by UOC.

24. On or about August 27, 2021, AmeriFactors delivered a Notice of Assignment to
UOC informing UOC that the Invoice had been purchased by AmeriFactors. See Ex. D.

25. | AmeriFactors now owns UOC’s debt and is entitled to be paid by UOC.

26. | AmeriFactors has demanded payment of $1,272,073.45 from UOC but UOC has
failed or refused to comply with that demand.

WHEREFORE, AmeriFactors demands judgment for damages against The University of
Chicago, Inc., in the amount of $1,272,073.45, plus prejudgment interest, attorneys’ fees and
costs.

COUNT I - OPEN ACCOUNT

27. | AmeriFactors re-alleges the allegations contained in paragraphs 1 and 3 through 26
above.

28. | AmeriFactors owns the Account.

29. UOC has failed and refused to pay AmeriFactors as assignee for the products and/or
services provided by Klein to UOC.

30. UOC owes AmeriFactors $1,272,073.45, according to the account statement. See
Comp. Ex. D.

WHEREFORE, AmeriFactors demands judgment for damages against The
University of Chicago, Inc., in the amount of $1,272,073.45, plus prejudgment interest, attorneys’

fees and costs.
Case 6:21-cv-01990-ACC-LRH Document 1-1 Filed 11/24/21 Page 5 of 36 PagelD 10

COUNT IV —- PROMISSORY ESTOPPEL,
(IN THE ALTERNATIVE TO COUNT ID)

31. | AmeriFactors re-alleges the allegations contained in paragraphs 1 and 3 through 17
above.

32. | UOC knew or reasonably should have known that AmeriFactors would rely upon
its promise to pay the Invoice as agreed in the verification and payment agreement without defense
or claim.

33. | AmeriFactors reasonably relied upon the promise of UOC to pay the Invoice, and
to direct payment as provided in the verification and payment agreement, without any dispute or
claim.

34. In reliance upon the promise made by UOC, AmeriFactors purchased the Invoice
in the amount of $1,272,073.45 from Klein.

35. | AmeriFactors will unjustly suffer damages in the amount of $1,272,073.45 and will
lose the benefit of its bargain if the promise made by UOC to pay the $1,272,073.45 Account is
not enforced.

WHEREFORE, AmeriFactors demands judgment for damages against The University of

Chicago, Inc. in the amount of $1,272,073.45, plus prejudgment interest, attorneys’ fees and costs.
Case 6:21-cv-01990-ACC-LRH Document 1-1 Filed 11/24/21 Page 6 of 36 PagelD 11

Submitted this 19 day of October, 2021

AMERIFACTORS FINANCIAL GROUP, LLC
LAW DEPARTMENT

By: /s/ Angelica M. Fiorentino

Angelica M. Fiorentino

Florida Bar No. 085886

1170 Celebration Boulevard, Suite 100
Celebration, Florida 34747

(Telephone) 407-566-1150

(Telecopier) 407-566-1250

Primary: afiorentino@amerifactors.com;
Secondary: liones@amerifactors.com
Attorney for AmeriFactors Financial Group, LLC
Case 6:21-cv-01990-ACC-LRH Document 1-1 Filed 11/24/21 Page 7 of 36 PageID 12

EXHIBIT A

(Factoring Agreement)
Case 6:21-cv-01990-ACC*ELRH Document 1-1 Filed 11/24/21-~-Page 8 of 36 PagelD 13

   
  

 
 

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FACTORING AGREEMENT

Client:
KLEIN CONSTRUCTION LTD.
18700 W103" ST, SUITE 340

E-mail Address: ‘KLEINCONSTRUCTION.NET
Phone: 800 Fax: 22265 Cell: 460

 

Date: JULY 9. 2021
Account No.

THE FOLLOWING IS THE AGREEMENT UNDER WHICH AMERIFACTORS FINANCIAL GROUP, LLC, AGREES TO ACT AS

YOUR EXCLUSIVE FACTOR.

This Factoring Agreement (this “Agreement”) is made this day by and between AMERIFACTORS FINANCIAL GROUP, LLC, a

Louisiana limited liability company and wholly owned subsidiary of Gulf Coast Bank & Trust Company (together with Its successors and
assigns, referred to as “we” or “us” or “AmeriFactors”) and RLEIN CONSTRUCTION LTD. (referred to as “you”),

1.

Assignment, You hereby sell and assign fo us all of your right, title, and interest in and to all your Accounts (as defined below),
whether now existing or that may hereafter arise, that are acceptable to us. Title and ownership of an Account will not vest in us and
will remain with you until the daie we accept the Account. “Accounts” means: (a) all of your accounts (as defined in the UCC) that
are acceptable to us and all obligations owed to you arising from or out of the sale of merchandise or the rendition of services; (b) all
of your rights to goods, property, and merchandise represented thereby (including without limitation returned and repossessed
goods); (c) all of your rights under insurance policies covering the services or merchandise: (d) all of your rights against carriers of
merchandise; (e) all of your defenses and rights of offset with respect to any payments received on an Account, and all other rights
of an unpaid seller of services or merchandise; (f) ail the rights of the seller of the underlying goods and services, including ail rights
of replevin, reclamation, stoppage in transit, supporting obligations, and letter of credit rights, and (via subrogation or otherwise) all
bond claims, lien rights, guarantees, securities, security interests, other agreements and arrangements, and supporting obligations
of whatever character held in regard to your dealings with your customers; and (g) all proceeds of the foregoing.

Decuments; Boos and Records, Upon our request (and as a condition to our purchase of an Account), you shall deliver to us a
valid purchase order or contract and documentation sufficient to confirm your completion of services or the shipment of ordered
materials covered by the Account. You promptly shall execute and deliver to us all shipping or delivery receipts and documents
associated with each Account and all further and confirmatory assignments of your Accounts as we require in a form and manner
satisfactory to us. Additionally, at any time and from time to time, at our request, you shall execute and deliver to us any document
in further confirmation thereof. You shall maintain at all times and at your expense proper books of account. We have the right to
inspect and make extracts frorn all your books and records at all reasonable times. You shall make appropriate notations on your
books and ledgers indicating the sale and assignment to us of each Account.

invoices. You shail bill and invoice all services and merchandise on a bill, form, or invoice satisfactory ta us. All invoices to
customers on Accounts assigned to us shail clearly state, in a manner satisfactory to us, that the Account has been sold and is
payable only to us.

Risk, With respect to Accounts that are approved and accepted by us, we assume only the credit risk and are responsible only for
the financial inability of your customers to pay. That assumption of credit risk will go into effect upon delivery and acceptance of the
services and/or merchandise by your customers without dispute and our acceptance of the Account, We are not liable in any manner
for refusing to give or withdrawing credit approval, for exercising or for refusing to exercise any rights we have under this Agreement,
or for refusing to accept any particular Account or Account debtor.

initlal Consideration. Once we approve the purchase of an Account, we will immediately pay you BE: 2:cent | of the
invoice or accounts receivable at the time of the approval.

Additional Conditional Consideration. As additional conditional consideration for the sale of an Account, we will, upon receipt of
collection, promptly pay to you an additional:

   
  
  
  
  
  
  
 
  

sercent of the Net Sale Amount, if collected within 30 days from date sold; or
dercent of the Net Sale Amount, if collected in 34 te 45 days from date sold: or
sercent of the Net Sale Amouni, if collected in 4§ to 80 days from date sold: or
»ercent of the Net Sale Amount, if collected in 64 to 75 days from date sold; or
yercent of the Net Sale Amount, if collected in 76 to 96 days from date sold; or
3ercent of the Net Sale Amount, if collected in $4 to 105 days from date sold; or
sercent of the Net Sale Amouni, if collected in 406 to 420 days from date sold; or
3ercent of the Net Sale Amount, if collected in 421 to 135 days from date soid; or
»ercent of the Net Sale Amount, if collected over 135 days from the date sold.

 

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Case 6:21-cv-01990-ACC-LRH Document 1-1 Filed 11/24/21»-Page 9 of 36 PagelD 14

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41.

12.

13.

If we collect less than the full amount of the Account, the additianal conditional consideration otherwise payable pursuant to this
paragraph is subject to any set-off taken by the Account debtor or otherwise compromised, not collected, or forgiven by us. if we
collect only a portion of the Account and the uncollected portion of the Account exceeds the ammount of the contingent part of the
purchase price specified in this paragraph, then the excess of the uncollected portion will be set-off against and subtracted from any
and ail other additional conditiona] consideration that would otherwise be payable to you pursuant to this Agraement. For purposes
of determining the number of elapsed days under this paragraph, the date of the “sale” will be counted as the first day and the date
of collection will be deemed to be four banking days after the date a check or draft drawn on a Florida bank and ten banking days
after the date a check or draft drawn on an out-of-state bank received from an Account debtor is deposited by us in our bank account.
if we receive cash from an Account debtor, the date of collection will be the day on which we received the cash. A “draft drawn"
includes, without limitation, ACH payments. If any checks are returned to us for insufficient funds or as a result of stop payment
orders and if we have paid any amounts to you, then you shall return the payment to us upon our request. Additional conditional
consideration owed by us to you will be paid on the FRIDAY following the date we received the cash payment on the Account or the
expiration of the four-day or ten-day collection period, as applicable. A transaction fee of $50.00 will be charged according to the
number of invoices processed during that given period. Non-factored reserve releases incur a processing fee of up to $25.00 per
release.

Volume, You shall sell us | your Accounts (except cash sales) generated between the date of this Agreement and
JULY 3.2022. During the term ui us agreement, we shall purchase, in the aggregate, of Accounts, subject to the other
terms and conditions of this Agreement. You agree that we are entitled to recover datuaycs n yuu fail to perform your Obligations
under this paragraph regardiess of whether or not you actually generate the required account volume, Damages will be computed
by multiplying the amount by which you fall short of this volume requirernent by the lowest percentage fee to be earned or retained
by us as computed by reference to paragraphs 5 and 6 above. Any amounts due under this Paragraph, shall constitute additional
Obligations (defined in paragraph 17, below) owed by you to us.

Accounts Recelvable Limit, The accounts receivable amount of Accounts purchased by us from you that are unpaid at any time
by your customers must not exceed

Processing Fee. You shail pay to us a processing fee of Me inveice, plus applicable postage and/or messenger fess and
overnight courier charges for each Account purchased from you. rhe processing fee is due and payable immediately at the time of
purchase.

Authorized Representatives. You hereby appoint WAYNE J. KLEIN. with full power-of-attorney to act on your behalf in regard to
this Agreement and to take any and all actions required or permitted to be taken by you pursuant to this Agreement, and we are
entitled to treat all of their actions as being authorized by you unless and until we receive written notification from you to the contrary.

Guarantees, This Agreement is subject to, and we have agreed to these terms based, in part, on our receipt of the guarantees of
WAYNE J. KLEIN.

Financial information. You shall provide us with quarterly financial statements, prepared in conformity with generally accepted
accounting principles applied on a consistent basis and all such other financial documents, records or information as we may request,
Including, without limitation, bank statemenis, within 30 calendar days after the end of each calendar quarter. The first quarterly
financial statement is due by OCTOBER 34, 2021. We will advise you of the due date for any other financial documents, records or
information in connection with any such request . in addition, you shall provide us with copies of your general liability insurance
policy and any other such insurance policies as we may reasonably request. Upan our request you shall designate us as loss payee
of any policies that cover our collateral or your obligations to us. You also shall provide us with copies of all Internal Revenue Code
Section 941 tax filings and proof of payment of taxes for the prior quarter within thirty (30) days after the end of each calendar
quarter. The first copies of Section 941 tax filings and proof of tax payment are due QOTOBER 34, 2024. If you fail to provide
required financial statements, documents, records, or information; or Section 941 filings and proof of tax payments as required, we
may, after affording written notice of default or breach and 10 days opportunity to cure, declare this Agreement to be terminated and
we may, in such event, recover damages dus to your breach.

 

Term; Termination, This Agreement shall commence on the date hereof, and shall continue until JULY S, 2622, for a twelve (12)
month period, and automatically from year to year thereafter, unless you give us notice in writing by certified or registered mail, 60
calendar days before the expiration of the orginal term or any subsequent renewal term, of your intention to terminate at the end of
the term, with the understanding that We may terminate this Agreement at any time upon 30 calendar days written notice to you by
certified or registered mail. In the event of such renewal you will be required to meet the volurne requirement set out in paragraph
7 above in each renewal term. We may immediately suspend our obligation to purchase additional Accounts from you or immediately
terminate this Agreement without notice if (a) there is issued or filed against you any tax lien, (b) you commit any breach of or default
in the performance of your covenants, warranties, or representations, (c) you make any false or untrue representation to us in
connection with this Agreement or any transaction relating to it, (d) you convene or cause to be convened a meeting of your creditors
or principal creditors or take advantage of the insolvency laws of any jurisdiction, (e) you become unable to pay your debts as they
mature, make a general assignment for the benefit of your creditors, or suspend the transaction of your usual business, (f} there is
issued or filed against you any attachment, injunction, execution, or judgment that is not removed within 30 calendar days aftar it
was issued or filed, (g) a case is commenced or a petition In bankruptcy or for an arrangement or reorganization under any bankruptcy
or insolvency laws is filed by or against you, a custodian or receiver (or other court designee performing the functions of a receiver)
is appointed for or takes possession of your assets or affairs, or an order for relief in a case commenced under any bankruptcy or
insolvency law is entered, or (h) you are-disselved or you or any of ycur direct or indirect parant companies enters inte any agreement

or transaction for the sale or other transfer of a majority of its assets (measured by fair market value) uistanding v: ve ma
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Case 6:21-cv-01990-ACC-ERH Document 1-1 Filed 11/24/21.-Page 10 of 36 PagelID 15

whether pursuant to a sale, lease, merger, spin-off, split-up, foreclosure, dissolution, bankruptcy, liquidation, consolidation, tender
offer, share exchange, recapitalization, reorganization, or other transaction. Our rights and your obligations arising out of
transactions having their inception before the suspension of the purchase of Accounts or termination of this Agreement will not be
affected by any suspension of our obligations under or terrnination of this Agreement. Upon any termination of this Agreement,
whether at your or our instance, all sums due from you to us shall be deamed to be immediately due and payable to us, and after
such termination any credit balance in your favor may be held by us until a final account is rendered, unless you furnish te us
indemnity satisfactory to us against any amounts chargeable against you under this Agreement. Notwithstanding our right to
suspend the purchase of Accounts under this Agreement, you will continue to assign to us, at our request, additional Accounts and
turn over all collections until all your Obligations (as defined below) to us under this Agreement have been paid in full, and until then,
this Agreement will remain in full force and effect as to and be binding on you and us, and we will be entitled to retain our security
interests in all assets granted pursuant to this Agreement. Termination of this Agreement will not become effective until you have
fully paid and discharged any and ail of your Obligations to us, matured or unmatured, absolute or contingent, and whether arising
under this Agreement or otherwise, After the giving of any notice of termination hereunder and until the full liquidation of your
obligations under this Agreement, you will nat be entitled to receive any equities or payments from us.

14. Account Disputes and Adjustments. Each Account that we purchase from you is our property and we may, in our sole discretion
and at your expense, settle, forgive, compromise, accept payments over time, or otherwise accept payment of less than the full
amount if, in our judgment, that action is appropriate to effectuate collection (although we have no obligation to do so). Any settlement
or compromise that we make with an Account debtor will not bar or constitute a waiver of any claims against you or your obligations
to us. If any merchandise is returned by or recovered from a customer, you shall pay to us the full amount of the related Account
(either in cash or by assignment of new Accounts), and until that payrnent or assignment, you shall hold the merchandise in trust for
us for our benefit, shall keep that property segragated and identified as property held in trust for us, and upon our reasonable request,
you shall deliver the merchandise to a place designated by us. Upon notice to you, we may sell or cause the sale of the merchandise
in accordance with applicable law and, in the event of a public sale, we may purchase the merchandise. We may apply the proceeds
of any sale first to pay the costs and expenses associated with the sale, and the balance, if any, will be credited to your account with
us. You authorize us to file liens or bond claims related to any Account that we purchase and to initiate and pursue litigation in your
name or ours fo collect any Account we have purchased or to enforce any rights in connection with those Accounts if, in our sole
judgment, we deem it advisabie to do so. In the event we retain counsel to assist in collection or to file suit to collect any Account
we have purchased from you, all costs and expenses incurred in such cellection efforts, including but not limiting to the attorneys’
fees we incur, may be setoff and charged against any other sums due you. Any sums we are unable to set off or charge against any
other sums due you, shall constitute additional Obligations (defined in paragraph 17, below) owed by you to us,

in the event any claim of set-off, discount, real or personal defenses, or counterclaims are asserted, claimed, or alleged by an
Account debtor against an Account purchased by us, whether asserted in writing, orally, or in litigation, then as between you and us,
the burden of proof shall be on you to prove that the claim, defense, set-off, or counterclaim is false and, as between you and us,
the presumption will be that the Account debtor is correct.

15. Customer Claims. You immediately shall report to us in writing (a) all claims or disputes made by your customers, (b) the loss,
return, damage, of rejection of any merchandise, (c) any offer to return any merchandise, and (d) any request for an extension of
time to pay or request for credit or adjustment, and you will promptly adjust all such claims and disputes; however, if you fail to do
so immediately, we may make the adjustment at your cost and expense. You shail indernnify us against all cost, loss, expense, and
liability caused by or arising out of the rejection of goods or services or claims or deductions of every kind and nature by your
customers. We reserve the right at any time to charge back to you the amount of the Account invoiced in any alleged dispute or
claim and that charge will be deemed a reassignment of the disputed amount of the Account to you. However, title to the
merchandise represented thereby shall remain assigned to us regardless of notations or conditions placed thereon by your customer,
and we will continue to have a security interest in the Account and the merchandise represented by it until the Account is fully paid,
settled, or discharged or all your Obligations to us are fully satisfied. In the event of any claim, dispute, or reassignment, we are
entited to charge back the amount of the claim, dispute, or reassignment to you against anv additional conditional consideration
otherwise payable pursuant to this Agreement. We are also entitled to charge interest at i per annum in regard to a disputed
invoice and may assess a BR sen ice charge in each case, plus attorneys’ fees and costs we incur.

16. Collections. If you receive any cash, notes, checks, drafts, acceptances, or collections in any form on any Accounts assigned to
us, you shall hold those amounts in trust for us (separate and apart from your own funds), and you shall immediately transmit and
deliver them fo us in the identical form received. Your failure to immediately deliver those payments to us gives us the right to
demand cash payment from you, tc immediately terminate this Agreement and to collect those funds by withholding amounts
otherwise due to or heid for you by us without demand or notice, ar both, among other remedies. We (and each person that we may
from time to time designate) have the absolute right and power of attorney to act on yaur behalf and have the right to sign and/or
endorse your name on any and all checks, drafts, and remittances of any kind or nature where the endorsement may be required to
effect collection, and to sign and/or endorse papers, receipts, documents, instruments, liens, insurance or bond claims, and bills of
lading relating fo transactions between you and us. You grant us power of attorney to change the address for delivery of mail to you
and to receive and open mail addressed to you if we deem such action reasonably necessary in order to effect collections. If, for any
reason, you receive a draft, check, or payment from any Account debtor in payment on an Account conveyed to us, or if you take
any action (or fail to take any action) which has the effect of interfering with, delaying or preventing us from receiving payment on an
Account conveyed to us (e.g. directing a debtor to stop payment), whether or not you actually receive the payment, and you do not
immediately endorse and deliver the draft, check, or payment to us, or otherwise cause the payment to be immediately delivered to
us, you acknowledge that you are liable for civil fraud and are guilty of civil theft and conversion of our property. In the event we fail
to recgive any payment as described in the foregoing sentence by the next Business Day after you or your authorized agent inierieres
with, delays, or causes us to fail to receive such payment, we may impose a fee equal to fifteen Ale “Misdirected Pa je

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Case 6:21-cv-01990-ACC-LRH Document1-1 Filed 11/24/21.-Page 11 of 36 PagelID 16

17.

18.

18.

Feo") of the gross ammount of any payment you receive or that you interfere with, delay or prevent us from receiving, plus fees and
costs as otherwise allowed by this Agreement.

Security Agreement, You and we intend for each sale of an Account to us pursuant to this Agreement to constitute a true sale of
the Account and not as a loan from us to you. If for any reason a sale of an Account contemplated by this Agreement is not deemed
to constitute a true sale despite the parties’ intentions, and, as collateral security for any and all of your indebtedness and obligations
to us, whether matured or unmatured, absolute or contingent, now existing or hereafter arising (including under indemnity or
reimbursement agreements or by subrogation), and however acquired by us, whether arising directly between you and us or acquired
by us by assignment, whether relating to this Agreement or independent hereof, including all obligations incurred by you to any other
person factored or financed by us (ccilectively, the “Obligations”), you grant to us a security interest in ail of your assets and
property, including without limitation, the following collateral, whether the collateral is now owned or existing or is owned, acquired,
or arises hereafter, and whether or not the property is specifically assigned to us: (a) all Accounts, accounts receivable that have
not been assigned to us, and your contract rights and Related Security (defined below) with respect to Accounts and other accounts
receivable; (6) all your other rights to the payment of money and payment intangibles, including without limitation amounts due from
us or from your affiliates, tax refunds, and insurance proceeds (including credit insurance proceeds); (c) all of your interest in any
returned, repossessed, finished or unshipped goods; (d) all motor vehicles, trucks, vans, automobiles, equipment, machinery,
inventory, fixtures, furniture, unfinished goods, and Jeasehold improvernents, whether now owned or hereafter acquired, together
will all replacements thereof, ali attachments, accessories, parts and tools belonging thereto for the use in connection therewith,
together with the proceeds thereof, along with all insurance and insurance proceeds; (e) all of your files, books, and records (including
without limitation computer programs, tapes, and related electronic data processing software); (f) all goods, instruments, policies,
and certificates of insurance, securities, chattel paper, documents, deposits, deposit accounts, letter of credit rights, supporting
obligations, investment property, cash, and other property owned by you orin which you have an interest; (g) all of your security and
guarantees therefore and in the goods and property represented thereby; (h) all your general intangibles (including, without limitation
ail patents, trademarks, and copyrights registered in the United States copyright or patent offices, together with the goad will of the
business in connection with which such trademark may be used and the royalties and other fees which become due for the use of
such patents, trademarks, or copyrights and any of your rights to retrieval from third parties of electronically processed and recorded
information pertaining to any of the foregoing types of collateral and all software, whether or not embedded}; and (h} proceeds and
products of ail of the foregoing. You also grant to us a lien and security interest in all your property now in or at any time hereafter
coming inte our contral, custedy, or possession, whether for the express purpose of being used by us as collateral, or for any other
purposa, and upen any balance or balances to the credit of any accounts maintained with us by you. You hereby irrevocably
authorize and direct us te charge at any time to your account, and to pay any Obligations owing by you to us, by so charging your
account. “Related Security” means, with respect to any Account (i) all instruments, chattel paper, and general intangibles and
payment intangibles arising from, related to, or evidencing the Account, (i)) all UCC financing statements covering any collateral
securing payment of the Account, (ili) all records of any nature evidencing or related to the Account, including contracts, invoices,
charge slips, credif memoranda, notes, and other instruments and other documents, books, records, and other information, and (iv)
all proceeds and amounts received or receivable arising from any of the foregoing.

This Agreement shall constitute a security agreement pursuant to the Uniform Commercial Code in effect in your State (the “UCG”),
anc in addition to any and ail of our other rights under this Agreement, we will have all of the rights of a secured party pursuant to
the provisions of the UCC. in addition to our other rights hereunder and as additional collateral security to us for any and all of your
Obligations to us, you shail execute a financing statement and any and all other instruments and documents that we may now or
hereafter deem to be required or provided for by the UCC or other law applicable thereto reflecting the security interests granted to
us under this Agreement. You hereby authorize us to file a financing statement without your signature, signed only by us as secured
party, to reflect the security interest granted to us in this Agreement and to describe the foregoing callateral in any financing statement
as “all personal property.”

You agree that we may notify an account debtor or other person obligated on an account to make payment or otherwise render
performance to or for the benefit of us at any time whether or not the account is specifically assigned to us. Any term used in the
UCC and not defined in this Agreement has the meaning given to that term in the UCC.

We may collect and hold all sums of money due to you by us (including, without limitation, any additional conditional consideration
otherwise due to you) and any of your money or property at any time in our possession as security for any and all Obligations now
or hereafter owing to us by you, whether arising hereunder, independently hereof, or acquired by us by assignment or otherwise,
notwithstanding that any of that money or property might have been deposited, pledged, or delivered by you, or any other entity for
any other, different, or specific purpose. Without in any way limiting the generality of the foregoing rights, you specifically agree that
we may exercise a right of set-off against additional conditional consideration otherwise due you or against any checks or other
funds due you that may come inte our possession (whether by purchase of an Account, by mistaken payment by your Account
debtors, or otherwise), to pay damages you may owe pursuant to this Agreement. We have the right to collect and offset (from any
source), ali Obligations due to us under this Agreernent prior to collecting or remitting payment to you.

Survival. All warranties, representations and agreements made herein shall survive the execution of this Agreement and each
transaction made pursuant to this Agreement and termination of this Agreement. All indernnification provisions and obligations for
reimbursement of fees and costs, including without limitation, the requirement to reimburse us for reasonable attorneys’ fees and
costs, shai! survive termination of this Agreement.

Representations and Warranties. You make the following representations and warranties to us, all af which are material to this

Agreement and will survive the conveyance of any or all Accounts hereunder: 7 -.
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You are duly organized, validly existing, and in good standing under the laws of ILLINOIS and are duly qualified ta do business and
in good standing in each other jurisdiction where your ownership of property or the conduct of your business requires that
qualification, except where the failure to be sc qualified could not reasonably be expected to have a material adverse effect on your
assets or business, and your execution, delivery, and performance of this Agreement does not and will net constitute a violation of
any applicable law, your governing documents, or a breach of any document, instrument, or agreement to which you are a party or
are bound:

You are solvent and are the sole and absolute owner of all Accounts conveyed hereunder, have good and clear title to those
Accounts, and have full power and legal right to sell, convey, assign, and transfer free and clear title to those Accounts to us;

Each and every Account now or hereafter assigned to us (|) is a valid account and will cover a bona fide sale and delivery of goads
usually dealt in by you or the rendition by you of services to customers in the ordinary course of your business, (ii) covers services
or goods that have been received and accepted by your customers who are not your affiliates, without claim or dispute of any kind
or nature (including any dispute or claim by a customer in whole or in part as to price, terms, quality, quantity, delay in shipment,
offsets, counterclaims, contra accounts, or any other defense of any kind or character), (ili) will be for an ammount certain payable in
United States funds in accordance with the terms of your invoice covering the sale (which will not be changed without our advance
written approval), (iv) does not represent a delivery of merchandise on “consignment,” “guaranteed sale,” “sale or return,” “payment
on reorder,” or similar terms, (v) does nat represent a "pack, bill, and hold” transaction, and (vi) does not arise from the sale of goods
or services performed by you to any entity that is affiliated with or controlled by yau or any of your principals.

You have not sold, pledged, assigned, hypothecated, granted a security interest in, or otherwise encumbered the Accounts (other
than pursuant to this Agreement) and will not do so other than to us at any time during the term of this Agreement and until its
termination becomes effective:

You have not contracted to assign and have not assigned any Account conveyed hereunder io any other person or entity and you
will not sell, factor, transfer, pledge, or give a sacurity interest in any of your Accounts ta anyone other than us;

You are the sole and absolute owner of all property in which a security interest is granted to us hereunder, have good and ciear title
to all property in which you have granted to us a security interest under this Agreement, and have full power and legal right to grant
to us a security interest in your property;

You make no warranties, representations, or guarantees regarding the solvency of any Account debtor on any Account conveyed
hereunder, except that you have no knowledge of any adverse financial conditions regarding any Account debtors:

You are properly licensed and authorized to conduct your business under all applicable laws and in the trade names you use, all of
your financial books and records ara true and accurate, your business is properly insured, and you operate your business in material
compliance with all applicable local, state, and federal laws;

All dacuments to be delivered by you to us will be genuine and, to your best knowledge, will be enforceable against your custamers
free and clear of any lien, offset, deduction, counterclaim, encumbrance, or any other claim or dispute, including without limitation,
claims or disputes as to price, terms, delivery, quantity, or quality, and claims of release from liability or because of the requirements
of law or of rules, orders, or regulations having the force of law; and

Neither you nor any of your direct or indirect parent companies will enter into any agreement or transaction for the sale or other
transfer of a majority of its assets (measured by fair market value) or outstanding voting stock, whether pursuant to a sale, lease,
merger, spin-off, split-up, foreclosure, dissolution, bankruptcy, liquidation, consolidation, tender offer, share exchange,
recapitalization, reorganization, or other transaction without our advance written consent.

You acknowledge that the "Prime Rate” (as reported in The Wail Street Journal as the general level of the base rate charged on
corporate loans at large United States money center commercial banks) on the effective date of this Agreement is 3.25%. Should
the “Prime Rate” reported by The Wall Street Journal exceed 3.25% at any time from and after the effective date of this Agreement,
we may: (a) decrease the additional conditional consideration we pay you pursuant to paragraph 6 as to each invoice paid after that
date; and (b) determine the decrease to the paragraph 6 additional consideration for all inveices by subtracting 3.25% from the
highest Prime Rate in effect at any time from and after the effective date of this Agreement. Should no additional consideration be
owed pursuant to paragraph 6 or, at our option, we may bill you for amounts due in accordance with this paragraph.

You further acknowledge and agree that if you breach any representation or warranty or any other provision of this Agreement, we
may accelerate and demand immediate payment of all outstanding Obligations.

Severability. \f any term or part of this Agreement is determined by a court or arbitrator to be invalid, illegal, or unenforceable, in
whole or in part, the invalid provision will be ineffective to the extent of such prohibitian without invalidating the remaining portions
of this Agreement.

Office of Foreign Asset Control, You shall not (a) be or become subject at any time to any law, regulation, or list of any government
agency (including, without limitation, the U.S. Office of Foreign Asset Control list) that prohibits or limits us or Gulf Coast Bank and
Trust Company or its assigns (Bank") from making any advance or extension of credit te you or from otherwise conducting business
with you, or th) fail to provide documentary and other evidence of your identity as may be inn: UIE or us sie ine yy

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enable Bank and us to verify your identity or to comply with any applicable law or regulation, including, without limitation, Section
326 of the USA Patriot Act of 2001, 31 U.S.C. Section 5318.

USA Patriot Act Notification. The following notification is provided to you pursuant to Section 326 of the USA Patriot Act of 2007,
31 U.S.C. Section 5378:

IMPORTANT INFORMATION ABOUT PROCEDURES FOR OPENING A NEW ACCOUNT. To help the government fight the funding
of terrorism and money laundering activities, Federal law requires all financial institutions to obtain, verify, and record information
that identifies each person or entity that opens an account, including any depasit account, treasury management account, Joan, other
extension of credit, or other financial services product. This will affect you in several ways. When you open an account or enters a
financial agreement with the Bank or us, if you are an individual, we and/or the Bank will ask for your name, taxpayer identification
number, residential address, date of birth, and other information that will allow Bank and us to identify you, and, if you are not an
individual, we or the Bank will ask for your name, taxpayer identification number, business address, and other information that will
allow Bank and us to identify you. We or the Bank may also ask, if you are an individual, to see your driver's license or other
identifying documents, and, if you are not an individual, to see your legal organizational documents or other identifying documents.

Taxes Generally. You shall pay all intangible taxes, documentary stamp taxes, UCC filing fees, sales taxes or any other taxes
applicable to this Agreement or the transactions occurring pursuant to this Agreement, except state or federal income taxes owed
by us, and shall indemnify us against any amounts paid directly by us. We may offset against any amounts we owe to you the
amount of any taxes paid by us for which you have not indemnified or reimbursed us. Sales taxes due to any state on any Account
by an Account debtor shail, upon payment to us, be paid over te you for remittance to the appropriate state taxing authority. We are
not responsible for the callection and payment of sales tax, and you shall indemnify us from any liability for sales or other taxes
payable by you or an Account debtor.

Miscellaneous. This Agreement (and any related lockbox agreement) record the entire agreement regarding the purchase of your

Accounts and supersedes any previous or contemporaneaus agreement, understandirig, or representation, oral or written, by either
party. A waiver, amendment, or other modification of this Agreement will be valid and effective only if it is In writing and signed by
both parties. A delay, omission, or course of dealing on our part in exercising any right, power, or ramedy under this Agreernant will
not operate as a waiver of it or any ather right, power, or remedy under this Agreement, and a single or partial exercise of any right,
power, or remedy under this Agreement does not preclude any further exercise of it, or the exercise of any other right, power, or
remedy. In addition, the written waiver by us of a right, power, or remedy under any provision of this Agreement will not constitute
a waiver of any succeeding exercise of that right, power, or remedy or a waiver of the provision itself. All of powers, rights, and
remedies granted to us in this Agreement, any other agreement or instrument, or by applicable law are cumulative and may be
exercised singularly or concurrently with any other powers, rights, and remedies we might have. The validity, interpretation,
construction, and enforcement of this Agreement are governed by the laws of the State of Florida and the federal laws of the United
States of America, excluding the laws of those jurisdictions pertaining to the resolution of conflicts with laws of other jurisdictions. in
any arbitration or litigation between the parties pertaining to this Agreement or an Account, the losing party shall reimburse the
prevailing party, on demand, for all attorneys’ fees and costs incurred by the prevailing party as a result of the arbitration or litigation.
Each party to this Agreernent (a) consents to the personal jurisdiction of the state and federal courts having jurisdiction over Orange
and Osceola County, Florida, (6) stipulates that the Circuit Courts in and for Orange or Osceola County, Florida, and the United States
District Court for the Middle District of Florida - Orlando Division, are the proper, exclusive, and convenient venues for ail trial court
proceedings arising out of or relating to this Agreement or your relationship with us, (c) waives any defense, whether asserted by motion
or pleacing, that either of those forums is an improper or inconvenient venue and (d) agrees that the proper venue may be chosen by
AmeriFaciors. This Agreement is binding on, and inures to the benefit of, the respective assignees and successors of the parties to it.
You may not pledge our credit for any purpose. You shall not change your jurisdiction of organization or incorporation without giving
us at least 60 calendar days’ advance written notice of the change. As used in this Agreement, the word “costs” includes all the fees,
costs, and expenses of experts, attorneys, mediators, arbitrators, witnesses, and supersedes bonds, whether incurred before or
after demand or commencement of legal proceedings, and whether incurred pursuant to trial, mediation, arbitration, bankruptcy,
administrative, or judgment-execution proceedings. You shail indemnify us and hold us harmless from and against any and all fees,
costs, claims, expenses, judgments, and Jiabilities (including attorneys’ fees) that are imposed on us or threatened or asserted
against us from time to time in any way connected with this Agreement, any Account, or any collateral for your Obligations.

SO LONG AS THIS AGREEMENT IS IN EFFECT, YOU SHALL NOT FURTHER ENCUMBER YOUR ASSETS WITHOUT PRIOR
WRITTEN PERMISSION FROM US, WHICH PERMISSION MAY BE WITHHELD IN OUR SOLE AND ABSOLUTE DISCRETION,
YOU AGREE THAT THIS IS A MATERIAL TERM IN THE AGREEMENT, THE BREACH OF WHICH WILL CAUSE US HARM.
YOU FURTHER AGREE THAT IN TH EVENT OF A BREACH OF THIS PROVISION BY YOU, WE MAY IMPOSE A FEE EQUAL
TO 5% OF YOUR GROSS OPEN ACCOUNT BALANCE WITH US AT THE TIME WE DISCOVER SUGH BREACH, PLUS OTHER
FEES AND COSTS AS ALLOWED BY THIS AGREEMENT AND/OR APPLICABLE LAW. YOU ALSO AGREE THAT WE MAY
FILE A FINANCING STATEMENT GIVING EFFECT TO THIS PROVISION AND REFLECTING THAT ANY FURTHER
ENCUMBERING OF YOUR ASSETS !S PROHIBITED.

IT iS AGREED BETWEEN THE PARTIES THAT TRIAL BY JURY IS HEREBY WAIVED IN ANY ACTION, PROCEEDING, OR
COUNTERCLAIM BROUGHT BY EITHER OF US AGAINST THE OTHER ON ANY MATTERS WHATSOEVER ARISING OUT
OF OR IN ANY WAY CONNECTED WITH THIS AGREEMENT OR OUR RELATIONSHIP CREATED HEREBY, YOU FURTHER
AGREE THAT YOU WILL PURSUE ANY CLAIM OR LAWSUIT ARISING FROM OR RELATING TO YOUR RELATIONSHIP WITH
US (INCLUDING OUR OFFICERS, DIRECTORS OR EMPLOYEES), WHETHER SUCH CLAIM ARISES UNDER THIS
AGREEMENT OR OTHERWISE AS AN INDIVIDUAL, AND WILL NOT LEAD OR JOIN OR SERVE AS A MEMBER OF A CLASS
OR GROUP OF PERSONS BRINGING SUCH A CLAIM OR LAWSUIT,

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Origination Fees. Application EEE Closing I ocumentation and ucc |

 
    

 

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29. If funds are wired, a fee of MM will be charged. If funds are ACH transmitted, a fee of i be charged. incoming wire
payments will incur an additional fee of Incoming ACH payments will incur an additiona: ee of Credit inquiries are
assessed based on the amount of crean requested, but will be no more thar JSA-based customer) and up tc or
international customers). The foregoing credit fees are assessed on a per inquity wasin.

APPROVED AND ACCEPTED:

Client.’ KLEIN CONSTRUCTION TD.
By: i ; Baap ie 2

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Name f
& Title: WAYNE J. KLEIN, PRESIDENT

Date: Cy “| 2021
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AMERIFAGTORS FINANCIAL GROUP, LLC

By: anit Meaning

Name

 

& Title: JEANNETTE NEARING BUSINESS DEVELOPMENT OFFICER
Date: JULY 9021 08/19/2021

 

(FORM 2001) 3/00

1037-008°L Factoring Agreement (GRFH/ILGP 6-15-21 clean}
Case 6:21-cv-01990-ACC-ERH Document 1-1 Filed 11/24/21--Page 15 of 36 PagelD 20

The foregoing Factoring Agreement was acknowledged before me this iy day of
‘wne 2021 by WAYNE J. KLEIN af KLEIN CONSTRUCTION LTD., a(n)
Corporation who is personall ¥ known, fame opr who has produced as
identification eco Cyne of identification),

  

   

 

  

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(Printed Name of Notar'y Public)

   
 

EAL :

« F Notary Public - State of tlinois Title or Rank

My Commission Expires
December 05, 2023

 

 

 

Serial Number, if any

**ATTENTION**
Please include a copy of Driver's License used as identification at time of Notarization.
Case 6:21-cv-01990-ACC-LRH Document 1-1 Filed 11/24/21 Page 16 of 36 PageID 21

EXHIBIT B

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i 630.325.1000 * fax 630.325.2225
— i email: build@kleinconstruction.net

 

 

 

 

 

 

 

 

Bill To: Invoice #1903-14

The University of Chicago Date 8/13/2021

5801 8. Ellis Avenue For the period ending

Chicago, IL 60637 7/34/2021

University Project Manager Andrea Herring

University of Chicago Project Number 20007

Praject Location SW Corner of 56th and Maryland, Chicago, IL. 60637

University of Chicago Ledger 8 number 8-81189

University of Chicago Contract number FB45300

Design Services for New High Bay Building - Contract Amount S 609,800.00

Aproved Change Orders 2,4,6,7, 8,10,13, 14,18&19 $10,058,076.01 § 10,667,876.01

Billing Period 6/01/21 - 7/31/21

Submitted by Wayne Klein ll (630)202-4400, wklein@kieinconstruction.net
Contractor Contract Amount This invoice
Klein Construction, Ltd. $ 5,411,386 $ 95,398.88
LEED Costs $ 17,637 $ :
Klein Permits and Fees $ 24,984 $
Groundcrew $ 46,800 $ “
Groundcrew $ 330,000 $ 31,609.40
City Lights § 6,000 $ -
Gallagher Concrete $ 648,000 $
Stonecast 5 715,000 $
Colvin 5 27,000 $ *
Waukegan Steel $ 1,070,000 $ 24,640.00
VEI 5 480,000 $ :
Bofo Waterproofing Systems 5 45,400 § -
Creative Panels $ 110,000 5 63,250.00
Maetalmaster/Roofmaster $ 540,000 5 33,995.46
Spray Insulation $ 120,000 5 36,800.00
American Building Systems $ 32,285 S °
Anagnos s 36,500 s “
Market Contracting S 323,000 $ 60,850.00
All Tech Decorating s 95,000 $ 27,200.00
Profasts s 115,006 § 58,000.00
D.A.M Plumbing $ 330,000 $ 45,400.00
McCauley Mechanical $ 1,813,400 S 728,356.00
Taylor Electric Company 5 881,000 S 185,034.00
Sievert Crane $ 273,300 $ 13,665.00
Hardt Electric $ 12,600 $ “
Pra-Bel $ 22,095 $ 9,155.00
Less 10% Retention $ (443,280.23)
Net Due less Retention S$  1,272,073.45
Retention Reduction to 0% $ -
Architrave, Ltd. S$ 249,500 $ -
LEED Silver Status $ 24,220 $ -
Utility Connection Redesign $ 14,630 § .
Storm Retention Vault 5 2,452 $ -
Terra Engineering, Ltd. $ 36,000 § -
LEED Casts $ 7,200 $ -
Utility Connection Redesign § 9,600 S -
David Mason & Assac. $ 56,100 5 -
LEED Costs $ 6,000 s -
Utility Connection Redesign 5 3,100 $ -
Storm Retention Vault 5 9,300 $ -
abHMS 5 88,200 § -
LEED Costs § 56,000 $ -
Utility Connection Redesign 5 6,000 $ -
Hikessler Associates,LEED Consultant $ 34,000 . SB eesmisipa
Net Due This invoice 3 _1,272,073,.45

$ 14,132,089

Previously Paid S$ _5,212,939.44
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EXHIBIT C

(Verification and Payment
Agreement)
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FUNDING BUSINESS 6 OUR BUSINESS*

PLEASE DELIVER THE FOLLOWING _10 PAGE(S) INCLUDING COVER
TO:

agentes

 
 

 

 

NAME: ANDREA HERRING- MANAGEMENT/
COMPTROLLER

COMPANY/DEPT: THE UNIVERSITY OF CHICAGO

 

EMAIL: AHERRING@UCHICAGO.EDU
REGARDING: KLEIN CONSTRUCTION LTD.
FROM: ALEXANDRIA BROWN

DATE: AUGUST 26, 2021

KLEIN CONSTRUCTION LTD. wishes to assign Payment Application #14,
Invoice #1903-14, Project No. New High Bay Building, 20007 ($1,272,073.45).
Please review the attached payment application(s) and sign below to verify that
all work has been completed and/or services performed as shown on the
payment application(s), that the amount stated on the payment application(s) will
be paid by your office, that there are no disputes, claims of offset, credits owed,
prior payments, discounts, or any other matters that you contend reduces your
obligation to pay the full amount of the payment application(s), and that you
waive your right to assert any defense to payment of the payment application(s).
In the event of a dispute related to this transaction, the prevailing party shall be
entitled to recover its reasonable fees and costs.

We/I further confirm that the total amount shown on the payment application(s)
will be paid within 60 (sixty) days to AmeriFactors at P.O. Box 628328, Orlando,
FL 32862-8328 or will be paid to AmeriFactors Financial Group LLC via
wire/ACH, BB&T, ABA EE, Account # I, and shall
constitute an agreement not to assert defenses or claims against payment
pursuant to the Uniform Commercial Code.

PLEASE FAX/ EMAIL THIS SHEET BACK TO ME AS SOON AS POSSIBLE
(844-880-0779), WITH A COVER PAGE ON YOUR LETTERHEAD.

 

DocuSigned by: 8/2 7/2 021
x [op DATE.
Andrea Herring _ :

PRINT NAME: TITLE; “PO 7 Progect: Manager

 

 

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Bill To: Invoice #1903-14

The University of Chicago Date 8/13/2021

5801 8. Ellis Avenue For the period ending

Chicago, IL 60637 7/34/2021

University Project Manager Andrea Herring

University of Chicago Project Number 20007

Praject Location SW Corner of 56th and Maryland, Chicago, IL. 60637

University of Chicago Ledger 8 number 8-81189

University of Chicago Contract number FB45300

Design Services for New High Bay Building - Contract Amount S 609,800.00

Aproved Change Orders 2,4,6,7, 8,10,13, 14,18&19 $10,058,076.01 § 10,667,876.01

Billing Period 6/01/21 - 7/31/21

Submitted by Wayne Klein ll (630)202-4400, wklein@kieinconstruction.net
Contractor Contract Amount This invoice
Klein Construction, Ltd. $ 5,411,386 $ 95,398.88
LEED Costs $ 17,637 $ :
Klein Permits and Fees $ 24,984 $
Groundcrew $ 46,800 $ “
Groundcrew $ 330,000 $ 31,609.40
City Lights § 6,000 $ -
Gallagher Concrete $ 648,000 $
Stonecast 5 715,000 $
Colvin 5 27,000 $ *
Waukegan Steel $ 1,070,000 $ 24,640.00
VEI 5 480,000 $ :
Bofo Waterproofing Systems 5 45,400 § -
Creative Panels $ 110,000 5 63,250.00
Maetalmaster/Roofmaster $ 540,000 5 33,995.46
Spray Insulation $ 120,000 5 36,800.00
American Building Systems $ 32,285 S °
Anagnos s 36,500 s “
Market Contracting S 323,000 $ 60,850.00
All Tech Decorating s 95,000 $ 27,200.00
Profasts s 115,006 § 58,000.00
D.A.M Plumbing $ 330,000 $ 45,400.00
McCauley Mechanical $ 1,813,400 S 728,356.00
Taylor Electric Company 5 881,000 S 185,034.00
Sievert Crane $ 273,300 $ 13,665.00
Hardt Electric $ 12,600 $ “
Pra-Bel $ 22,095 $ 9,155.00
Less 10% Retention $ (443,280.23)
Net Due less Retention S$  1,272,073.45
Retention Reduction to 0% $ -
Architrave, Ltd. S$ 249,500 $ -
LEED Silver Status $ 24,220 $ -
Utility Connection Redesign $ 14,630 § .
Storm Retention Vault 5 2,452 $ -
Terra Engineering, Ltd. $ 36,000 § -
LEED Casts $ 7,200 $ -
Utility Connection Redesign § 9,600 S -
David Mason & Assac. $ 56,100 5 -
LEED Costs $ 6,000 s -
Utility Connection Redesign 5 3,100 $ -
Storm Retention Vault 5 9,300 $ -
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LEED Costs § 56,000 $ -
Utility Connection Redesign 5 6,000 $ -
Hikessler Associates,LEED Consultant $ 34,000 . SB eesmisipa
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$ 14,132,089

Previously Paid S$ _5,212,939.44
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EXHIBIT D

(Notices of Assignment)
 

 

Case 6:21-cv-01990-AC@LRH Document Filed 11/24/21 Page 29 of 36 PagelD 34

FACTORS

wrrommmesinneen FUNDING BUSINESS IS OUR BUSINESS’ —————

    

SENT VIA: EMAIL TO AHERRING@UCHICAGO.EDU & FEDEX TRACKING # 9538 3327
2383

August 27, 2024

THE UNIVERSITY OF CHICAGO

ATTN: ANDREA HERRING/ ACCOUNTS PAYABLE SUPERVISOR
5601 § ELLIS AVE

CHICAGO, IL 60637

RE: GENERAL NOTICE OF ASSIGNMENT & STATEMENT

Dear Accounts Payable Department Head,

In order to accommodate the changes and growth to our business, Klein Construction Ltd. has been
fortunate to obtain the services of AmeriFactors, which will now serve as our accounts receivable
management team. Please accept this letter as notification that all of Klein Construction Ltd. accounts and
invoices have been irrevocably assigned to AmeriFactors. This assignment will remain in force unless and
until you receive express written notification from AmeriFactors. Payment of the above referenced invoices
and all future invoices due to Klein Construction Ltd. must be made payable to AmeriFactors, and must be

mailed directly to:

AmeriF actors ACH /Wire

P.O. Box 628328 AmeriFactors Financial Group LLC.
Orlando, Florida 32862-8328 OR BB&T Bank

Phone: (800) 884-3863 ABA + EEE

Federal Tax ID/ Account |

Ref: Invoice Number

Thank you for your business and your cooperation with this matter.

Sincerely,

Has Lie cd ‘,

AmeriFactors
Hailee Ledford
Vice President of Client Relations

  

 

  

Wayne J. Kle
President

 

1170 Celebration Bivd., Suite 100, Celebration, FL 34747
phone 407.566.1150 fax 407.566.1250 web amerifactors.com
 

Filed 11/24/21 Page 30 of 36 PagelD 35

FACTORS
FUNDING BUSINESS IS OUR BUSINESS®

SENT VIA: EMAIL TO AHERRING@UCHICAGO.EDU & FEDEX TRACKING # 9538 3327
2393

Case 6:21-cv-01990-ACG-LRH

    

 

August 27, 2021

THE UNIVERSITY OF CHICAGO

ATTN: ANDREA HERRING/ ACCOUNTS PAYABLE SUPERVISOR
5801 S ELLIS AVE

CHICAGO, IL 60637

RE: ENCLOSED INVOICE(S): PAY APP 14 (INV.1903-14)

Dear Sir/Madam:

In reliance upon your verification that the referenced invoice(s) from KLEIN CONSTRUCTION
LTD. is due in full, AmeriFactors has purchased the invoice(s). KLEIN CONSTRUCTION LTD.
has assigned all of its right in the account to AmeriFactors and we hereby submit the enclosed
original invoice(s) for your records. Payment on the above referenced invoice(s) and on ail
invoices due to KLEIN CONSTRUCTION LTD. from this date forward, should be made payable
to AmeriFactors and mailed directly to:

AmeriFactors Financial Group LLC
PO Box 628328
Orlando, FL 32862-8328

BB&T Account #
ABA #

Federal Tax ID #
Phone: (800)884-3863

Please call our office with any questions or concerns.
Thank you,

AmeriF actors

Hailee Ledford

Hailee Ledford
Vice-President of Client Relations

 

1170 Celebration Blvd., Suite 100, Celebration, FL 34747
phone 407.566.1150 fax 407.566.1250 web amerifactors.com

 
Case 6:21-cv-01990-ACC-LRH Document1-1 Filed 11/24/21 Page 31 of 36 PagelD 36

Statement of Account As of August 27, 2021

Please Remit All Payments To:

KLEIN CONSTRUCTION LTD
C/O AMERIFACTORS
P.O.BOX 628328

ORLANDO, FL 32862-8328

invoices Were Purchased From:*

THE UNIVERSITY OF CHICAGO KLEIN CONSTRUCTION LTD
5801S. ELLIS AVE 15700 W 103RD ST SUITE 340
CHICAGO, IL 60637 LEMONT, IL 60439

Attention: Accounts Payable

Invoice# Date Amount Age Balance
190314 PAY APP 14 = 7/31/2021 1,272,073.45 28 1,272,073.45
Total Due 1,272,073.45

 

““PLEASE DO NOT ACCEPT ANY CHANGES IN OUR WIRE INSTRUCTIONS - BY EMAIL OR OTHERWISE -
WITHOUT CALLING US AT (407) 566-1150 TO VERIFY THE NEW INSTRUCTIONS**

ADDRESS QUESTIONS TO: CUSTOMERSERVICE@AMERIFACTORS.COM OR PHONE (407) 566-1150
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i 630.325.1000 * fax 630.325.2225
— i email: build@kleinconstruction.net

 

 

 

 

 

 

 

 

Bill To: Invoice #1903-14

The University of Chicago Date 8/13/2021

5801 8. Ellis Avenue For the period ending

Chicago, IL 60637 7/34/2021

University Project Manager Andrea Herring

University of Chicago Project Number 20007

Praject Location SW Corner of 56th and Maryland, Chicago, IL. 60637

University of Chicago Ledger 8 number 8-81189

University of Chicago Contract number FB45300

Design Services for New High Bay Building - Contract Amount S 609,800.00

Aproved Change Orders 2,4,6,7, 8,10,13, 14,18&19 $10,058,076.01 § 10,667,876.01

Billing Period 6/01/21 - 7/31/21

Submitted by Wayne Klein ll (630)202-4400, wklein@kieinconstruction.net
Contractor Contract Amount This invoice
Klein Construction, Ltd. $ 5,411,386 $ 95,398.88
LEED Costs $ 17,637 $ :
Klein Permits and Fees $ 24,984 $
Groundcrew $ 46,800 $ “
Groundcrew $ 330,000 $ 31,609.40
City Lights § 6,000 $ -
Gallagher Concrete $ 648,000 $
Stonecast 5 715,000 $
Colvin 5 27,000 $ *
Waukegan Steel $ 1,070,000 $ 24,640.00
VEI 5 480,000 $ :
Bofo Waterproofing Systems 5 45,400 § -
Creative Panels $ 110,000 5 63,250.00
Maetalmaster/Roofmaster $ 540,000 5 33,995.46
Spray Insulation $ 120,000 5 36,800.00
American Building Systems $ 32,285 S °
Anagnos s 36,500 s “
Market Contracting S 323,000 $ 60,850.00
All Tech Decorating s 95,000 $ 27,200.00
Profasts s 115,006 § 58,000.00
D.A.M Plumbing $ 330,000 $ 45,400.00
McCauley Mechanical $ 1,813,400 S 728,356.00
Taylor Electric Company 5 881,000 S 185,034.00
Sievert Crane $ 273,300 $ 13,665.00
Hardt Electric $ 12,600 $ “
Pra-Bel $ 22,095 $ 9,155.00
Less 10% Retention $ (443,280.23)
Net Due less Retention S$  1,272,073.45
Retention Reduction to 0% $ -
Architrave, Ltd. S$ 249,500 $ -
LEED Silver Status $ 24,220 $ -
Utility Connection Redesign $ 14,630 § .
Storm Retention Vault 5 2,452 $ -
Terra Engineering, Ltd. $ 36,000 § -
LEED Casts $ 7,200 $ -
Utility Connection Redesign § 9,600 S -
David Mason & Assac. $ 56,100 5 -
LEED Costs $ 6,000 s -
Utility Connection Redesign 5 3,100 $ -
Storm Retention Vault 5 9,300 $ -
abHMS 5 88,200 § -
LEED Costs § 56,000 $ -
Utility Connection Redesign 5 6,000 $ -
Hikessler Associates,LEED Consultant $ 34,000 . SB eesmisipa
Net Due This invoice 3 _1,272,073,.45

$ 14,132,089

Previously Paid S$ _5,212,939.44
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